878 F.2d 1446
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.In re Gordon W. STULL.
    No. 89-1268.
    United States Court of Appeals, Federal Circuit.
    June 9, 1989.
    
      Before BISSELL, ARCHER and MAYER, Circuit Judges.
      PER CURIAM.
    
    DECISION
    
      1
      The decision of the United States Patent and Trademark Office (PTO), Board of Patent Appeals and Interferences (Board), Appeal No. 87-2472 (August 29, 1988), as modified by the Board's January 19, 1989, reconsideration opinion, affirming the PTO's final rejection of the claimed exhaust system in application Serial No. 678,066, under 35 U.S.C. Sec. 103 (1982 &amp; Supp.  V 1987), is affirmed on the basis of the Board's opinions.
    
    